                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE


  UNITED STATES OF AMERICA                         )
                                                   )
  v.                                               )   NO. 3:18-CR-157-3-TWP-DCP
                                                   )
  JOSEPH STANTON                                   )
                                                   )



                                           ORDER

         Magistrate Judge C. Clifford Shirley, Jr. filed a report and recommendation,

  recommending that the Court: (1) find that the plea hearing in this case could not be further

  delayed without serious harm to the interests of justice; (2) grant Defendant’s motion to

  withdraw his not guilty pleas to Count One and Count Three of the Indictment; (3) accept

  Defendant’s plea of guilty to Count One of the Indictment, that is, of conspiracy to

  distribute and possess with intent to distribute one thousand (1,000) kilograms or more of

  a mixture and substance containing a detectable amount of marijuana, a Schedule I

  controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(A); (4)

  accept Defendant’s plea of guilty to Count Three of the Indictment, that is, of conspiracy

  to conduct and to attempt to conduct a financial transaction affecting interstate commerce

  and foreign commerce involving the proceeds of an illegal activity with the intent to

  promote the carrying on of specified unlawful activity, that is, the conspiracy to distribute

  one thousand (1,000) kilograms or more of a mixture or substance containing a detectable

  amount of marijuana, a Schedule I controlled substance, in violation of 18 U.S.C. §§

                                               1

Case 3:18-cr-00157-TWP-DCP Document 167 Filed 11/06/20 Page 1 of 3 PageID #: 3076
  1956(h), 1956(a)(1)(A)(i), and 1956(a)(1)(B)(i); (5) adjudicate Defendant guilty of the

  charges set forth in Count One and Count Three of the Indictment; and (6) find that

  Defendant shall remain in custody until sentencing in this matter [D. 165]. Neither party

  filed a timely objection to the report and recommendation. After reviewing the record, the

  Court agrees with the magistrate judge’s report and recommendation. Accordingly, the

  Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [D.

  165] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

         (1)    As set forth on the record, Defendant’s plea hearing could not be further

  delayed without serious harm to the interests of justice;

         (2)    Defendant’s motion to withdraw his not guilty plea to Count One and Count

  Three of the Indictment is GRANTED;

         (3)    Defendant’s plea of guilty to Count One of the Indictment, that is, of

  conspiracy to distribute and possess with intent to distribute one thousand (1,000)

  kilograms or more of a mixture and substance containing a detectable amount of marijuana,

  a Schedule I controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

  841(b)(1)(A), is ACCEPTED;

         (4)    Defendant’s plea of guilty to Count Three of the Indictment, that is, of

  conspiracy to conduct and to attempt to conduct a financial transaction affecting interstate

  commerce and foreign commerce involving the proceeds of an illegal activity with the

  intent to promote the carrying on of specified unlawful activity, that is, the conspiracy to

  distribute one thousand (1,000) kilograms or more of a mixture or substance containing a
                                               2




Case 3:18-cr-00157-TWP-DCP Document 167 Filed 11/06/20 Page 2 of 3 PageID #: 3077
  detectable amount of marijuana, a Schedule I controlled substance, in violation of 18

  U.S.C. §§ 1956(h), 1956(a)(1)(A)(i), and 1956(a)(1)(B)(i), is ACCEPTED;

        (5) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One

  and Count Three of the Indictment;

        (5)    Defendant SHALL REMAIN IN CUSTODY until sentencing in this

  matter, which is scheduled to take place on January 19, 2021 at 11:00 a.m. in Knoxville,

  Tennessee before the Honorable Thomas W. Phillips, Senior United States District Judge.

        IT IS SO ORDERED.



                                     /s/ THOMAS W. PHILLIPS
                                   SENIOR UNITED STATES DISTRICT JUDGE




                                             2




Case 3:18-cr-00157-TWP-DCP Document 167 Filed 11/06/20 Page 3 of 3 PageID #: 3078
